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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


VARTA MICROBATTERY GMBH,                                        CASE NO. 2:21-cv-00036-JRG

v.                                                                     LEAD CASE
                                                                 JURY TRIAL DEMANDED
GUANGDONG MIC-POWER NEW
ENERGY CO., LTD.

VARTA MICROBATTERY GMBH,
v.                                                              CASE NO. 2:21-cv-00038-JRG
PEAG, LLC d/b/a JLAB AUDIO
                                                                     MEMBER CASE
                                                                 JURY TRIAL DEMANDED


           VARTA MICROBATTERY GMBH’S UNOPPOSED MOTION TO
          REDACT PORTIONS OF PRETRIAL CONFERENCE TRANSCRIPT

       Plaintiff VARTA Microbattery GmbH (“VARTA”), pursuant to Federal Rule of Civil

Procedure 5.2(e), respectfully moves for an order by this Court that limited redactions be made to

portions of THE transcript of the Pre-Trial Conference held on April 26, 2022. Good cause

supports this motion because certain portions of the transcript reveal confidential and proprietary

financial and business information of VARTA, the Defendants, and/or third parties. For example,

the transcript includes arguments and information regarding the terms of a confidential agreement

between VARTA and third-party Samsung Electronics America at, for example, page and line

numbers 60:23-25 and 64:13-65:11. The transcript also includes market share information of

certain of VARTA’s customers at, for example, 68:15-69:7 and 69:24-70:2. The transcript further

reflects detailed information that underlies the damages assertions made in this case which in turn

reveals confidential sales and pricing data of the parties at, for example, 72:5-73:9.




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       The requested redactions have been narrowly tailored to redact only the confidential and/or

proprietary information of VARTA, the Defendants, or third parties that could have a negative

competitive or economic impact on them. Furthermore, the redactions have been made to only

those portions of the transcript of the Pretrial Conference during which the Court had sealed the

courtroom to protect such confidential and/or proprietary information. Accordingly, it does not

appear that the public has a significant interest in the information that VARTA requests be redacted

or would otherwise be impacted by such redactions.

       Accordingly, VARTA respectfully requests redaction of the following page and line

numbers of the April 26, 2022 transcript of the Pretrial Conference:

                                 Beginning Page : Line Number
                                               –
                                  Ending Page : Line Number
                                           55:2-58:9
                                          61:23-62:9
                                          60:23-61:4
                                         63:24-64:12
                                         64:13-65:12
                                          68:1-68:14
                                          68:15-69:7
                                           69:17-18
                                           69:19-21
                                          69:24-70:2
                                         70:21-71:12
                                         71:15-71:23
                                           72:5-73:9
                                            74:7-13
                                         74:18-75:15
                                           78:11-25
                                            80:5-15
                                          80:24-81:6




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Date: May 25, 2022                 Respectfully Submitted,

                                   /s/ Andrew W. Stinson
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                                      Certificate of Service

       The undersigned certifies that on May 25, 2022, a true and correct copy of the foregoing

document was served on all attorneys of record who have consented to electronic service via the

Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                    /s/ Andrew W. Stinson
                                                    Andrew W. Stinson



                                    Certificate of Conference

       The undersigned hereby certifies that Counsel for Plaintiff conferred via electronic mail

with Counsel for Defendants on May 25, 2022 regarding the foregoing motion and Defendants do

not oppose the relief requested herein.

                                                    /s/ Andrew W. Stinson
                                                    Andrew W. Stinson




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